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WESTERN I)IsTRICT oF TENNESSEE ~*1" ll .<6 Fr§ L'.= l =’_)
Eastern Division

 

UNITED sTATEs oF AMERlCA f::\] !;_-
-vs- Case No. l:05cr10043-001T

GUILLERMO OROZCO-BOBADILLA

 

ORDER OF DETENT|ON PEND|NG TR|AL
FlND|NGS
ln accordance With the Bail Reform Act, 18 U,S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant is not currently eligible for release due to pending matters in another
jurisdiction; to wit, the defendant is subject to deportation or removal from the
United States by the Immigration and Naturalization Service.

DlRECT|ONS REGARD|NG DETENT|ON

GUILLERMO OROZCO-BOBADILLA is committed to the custody of the Attorney General or his
designated representative for confinement in a corrections facility separate, to the extent practicable, from persons
awaiting or serving sentences or being held in custody pending appeal. GUILLERM 0 OR()ZCO-BOBADILLA shall
be afforded a reasonable opportunity for private consultation with defense counse|. On order of a Court of the United
States or on request of an attorney for the govemment, the person in charge of the corrections facility shall deliver the
Defendanl to the United States marshal for the purpose of an appearance in connection with a Court proceeding

Dare; Ju1y26,2005 C§ //MW;‘M david

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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This notice confirms a copy of the document docketed as number 9 in
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Honorable J ames Todd
US DISTRICT COURT

